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8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   )      Case №: 1:06-CR-00269-1-DAD
                                                 )      Appeals Case №: 1:20-AP-10042
11                   Plaintiff,                  )
                                                 )                    ORDER
12           vs.                                 )               APPOINTING COUNSEL
                                                 )
13   MANUEL BURCIAGA,                            )
                                                 )
14                   Defendant.                  )
                                                 )
15
            The above named Defendant has, under oath, sworn or affirmed as to his financial
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17   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

18   obtain counsel and wishes counsel be appointed to represent him on Appeal. Therefore, in the

19   interests of justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
20
            IT IS HEREBY ORDERED that Elizabeth Richardson-Royer be appointed to represent
21
     the above defendant in this case effective nunc pro tunc to January 31, 2020.
22
            This appointment shall remain in effect until further order of this court.
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24
     IT IS SO ORDERED.
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        Dated:     February 7, 2020
26                                                      UNITED STATES DISTRICT JUDGE
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